         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
                  _____________________________

                      Case No. 5D2023-3200
                   LT Case No. 2016-CA-43164
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KENNETH E. PICKENS a/k/a
KENNETH PICKENS and YAMINA
S. PICKENS a/k/a YAMINA SAFRI
PICKENS,

    Appellants,

    v.

U.S. BANK TRUST NATIONAL
ASSOCIATION, NOT IN ITS
INDIVIDUAL CAPACITY, BUT
SOLELY AS TRUSTEE OF THE
TRUMAN 2021 SC9 TITLE TRUST,

    Appellee.
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On appeal from the Circuit Court for Brevard County,
Michelle L. Naberhaus, Judge.

Kenneth E. Pickens and Yamina S. Pickens, Melbourne Beach, pro
se.

Adam A. Diaz, of Diaz Anselmo &amp; Associates P.A., Fort
Lauderdale, for Appellee.

                        August 20, 2024

PER CURIAM.
    AFFIRMED.

HARRIS, BOATWRIGHT, and MACIVER, JJ., concur.

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    Not final until disposition of any timely and
    authorized motion under Fla. R. App. P. 9.330 or
    9.331.
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